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                             UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS (WORCESTER)

IN RE:

Dishanda Callands-Robinson,
Debtor


Wells Fargo Bank, NA,                                    CHAPTER 7
                                                         CASE NO. 18-30938-EDK
VS.

Dishanda Callands-Robinson


                                  MOTION FOR RELIEF FROM STAY

To the Honorable Elizabeth D. Katz:

Wells Fargo Bank, NA, your moving party in the within Motion, hereby requests that the Court grant relief

from the Automatic Stay imposed by 11 U.S.C. §362 and respectfully represents:

1.       The movant has a mailing address of Wells Fargo Bank, N.A. MAC N9286-01Y, Default Document

Processing, 1000 Blue Gentian Rd., Eagan, MN 55121-7700.

2.       The Debtor has a mailing address of 28 Jennings Street, Springfield, MA 01119.

3.       On October 27, 2018, the Debtor filed a petition under Chapter 7 of the United States Bankruptcy

Code in the United States Bankruptcy Court for the District of Massachusetts.

4.       The movant is the holder of a first mortgage on real estate in the original amount of $127,546.00

given by Dishanda Callands-Robinson to Mortgage Electronic Registration Systems, Inc. on or about

December 20, 2013. Said mortgage is recorded in the Hampden County Registry of Deeds at Book 20143,

Page 477 as modified by a certain modification agreement recorded with said Hampden County Registry of

Deeds at Book 21609, Page 552 and covering the premises located at 28 Jennings Street, Springfield, MA

01119. A copy of the mortgage is annexed hereto and marked as Exhibit B. A copy of the modification

agreement is annexed hereto and marked as Exhibit C.

5.       Said mortgage secures a note given by Dishanda Callands-Robinson to First Home Mortgage

Corporation DBA First Home Mortgage Services in the original amount of $127,546.00. Wells Fargo Bank,
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NA, services the loan on the property referenced in this motion for relief. In the event the automatic stay

in this case is lifted/set aside, this case dismisses, and/or the debtor obtains a discharge and a foreclosure

action is commenced on the mortgaged property, the foreclosure will be conducted in the name of Wells

Fargo Bank, NA. Debtor executed a promissory note secured by a mortgage or deed of trust. The promissory

note is either made payable to Creditor or has been duly indorsed. Creditor, directly or through an agent, has

possession of the promissory note. Creditor is the original mortgagee or beneficiary or the assignee of the

mortgage or deed of trust. A copy of the note is annexed hereto and marked as Exhibit A.

6.      There is no other collateral securing the obligation.

7.      Said mortgage was subject to the following assignments:

         Mortgage Electronic Registration Systems, Inc., as nominee for First Home Mortgage
         Corporation Doing Business as First Home Mortgage Services to Wells Fargo Bank, NA,
         recorded on May 12, 2015, in Book No. 20698, at Page 446

A copy of the assignment is annexed hereto and marked as Exhibit D.

8.      There is a Declaration of Homestead recorded on December 20, 2013 in Book No. 20143, at Page

484.

9.      As of November 7, 2018, approximately $134,872.04 in principal, interest, late fees and other charges

was due with regard to Wells Fargo Bank, NA's note and mortgage.

10.     There are the following encumbrances on the property:


11.     AName of Creditor                                   Type of Lien            Amount Owed
         Movant                                             First Mortgage          $134,872.04
ccor
         Springfield Tax Collector                          Other                   Unknown
ding
         Total Secured Encumbrances:                                                $134,872.04
to

the Debtor’s Schedules, the fair market value of the subject property is $155,000.00. The liquidation value

of the subject property is $144,493.20, calculated as the fair market value less a reasonable realtor’s fee

(6%); deed stamps $706.80 and anticipated costs incurred for a real estate closing of $500.00.




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12.     The note and mortgage are in default for the February 1, 2018 payment, and all payments thereafter

plus reasonable attorney’s fees and costs and other charges incurred by the movant.

13.     The movant seeks relief from stay as a secured creditor to enforce its rights under its loan documents

and applicable law. In support thereof, the movant states that it is entitled to relief:

         I.       Pursuant to 11 U.S.C. §362 (d)(1) for cause on the basis that the Debtor is in default on said

                  contractual obligations, the primary purpose of a Chapter 7 proceeding is to liquidate the

                  assets of the Debtor;



WHEREFORE, the movant prays that it, and its successors and/or assigns, be granted relief from the

automatic stay for the purpose of: (i) exercising its rights under its agreements with the debtor and under

applicable law, including, without limitation, taking possession of the mortgaged premises and/or foreclosing

or accepting a deed in lieu of foreclosure of its mortgage on said premises; (ii) preserving its right to seek any

deficiency to the extent permitted by state and federal law, including 11 U.S.C. §524(a); (iii) bringing such

actions, including, without limitation, proceedings, as are permissible by law; and (iv) that the Court order

such other and further relief as may be just and proper.

                                                       Respectfully submitted,

                                                       Wells Fargo Bank, NA,
                                                       By its attorney,

                                                       /s/ Jason J. Giguere
                                                       Jason J. Giguere, Esquire
                                                       BBO# 667662
                                                       Harmon Law Offices, P.C.
                                                       PO Box 610389
                                                       Newton Highlands, MA 02461
                                                       (617)558-0500
                                                       mabk@harmonlaw.com
Dated: November 30, 2018




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                             UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS (WORCESTER)

IN RE:                                                            Case No. 18-30938-EDK
                                                                  Chapter 7
Dishanda Callands-Robinson,

Debtor

                                      CERTIFICATE OF SERVICE

        I, Jason J. Giguere, state that on November 30, 2018, I electronically filed the foregoing document
with the United States Bankruptcy Court for the District of Massachusetts on behalf of Wells Fargo Bank,
NA using the CM/ECF System. I served the foregoing document on the following CM/ECF participants:

Eric Kornblum
Gary M. Weiner
Richard T. King

I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with the
Court on the following non CM/ECF participants:

Dishanda Callands-Robinson
28 Jennings St
Springfield, MA 01119-1508

Springfield Tax Collector
City Hall Room 112
36 Court St.
Springfield, MA 01103

                                                    Respectfully submitted,

                                                    Wells Fargo Bank, NA,
                                                    By its attorney,

                                                    /s/ Jason J. Giguere
                                                    Jason J. Giguere, Esquire
                                                    BBO# 667662
                                                    Harmon Law Offices, P.C.
                                                    PO Box 610389
                                                    Newton Highlands, MA 02461
                                                    (617)558-0500
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Dated: November 30, 2018




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